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                               UNITED STATES DISTRICT COURT

                                  DISTRICT OF MASSACHUSETTS



KENNETH A. THOMAS MD, LLC



v.                                                        CIVIL ACTION NO. 17-12563-DJC



BEST DOCTORS, INC.




                                    ORDER TO SHOW CAUSE



CASPER, D.J.


        Deadline for filing opposition to defendant's motion to dismiss was March 12, 2018. Plaintiff

has failed to file opposition by this deadline. Accordingly, plaintiff has until April 6, 2018 to show cause

why this case should not be dismissed and file any opposition to the pending motion. Failure to do so

may result in immediate dismissal of this case.


                                                          /s/ Lisa M. Hourihan
March 19, 2018                                            --------------------------
                                                          Deputy Clerk
